               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       CASE NO.: 1:20-CR-500-WO


 UNITED STATES OF AMERICA

                 v.

 EDWARD LAMONT GLOVER



     PETITIONER’S REPLY TO THE GOVERNMENT’S RESPONSE TO
                      MOTION TO VACATE

      NOW COMES Petitioner Edward Lamont Glover, through counsel, and

submits the following reply to the Government’s response. Petitioner submits that

the Second Amendment’s plain text covers the conduct proscribed by Section

922(g)(1), and the prosecution cannot meet its burden of establishing that this

application of Section 922(g)(1) is consistent with the Nation’s historical tradition of

firearm regulation. Section 922(g)(1) is therefore unconstitutional on its face and as

applied to Petitioner.

                                    BACKGROUND

      Section 922(g)(1) provides:

      It shall be unlawful for any person . . . who has been convicted in any
      court of[] a crime punishable by imprisonment for a term exceeding one
      year . . . to ship or transport in interstate or foreign commerce, or possess
      in or affecting commerce, any firearm or ammunition; or to receive any
      firearm or ammunition which has been shipped or transported in
      interstate or foreign commerce.


      18 U.S.C. § 922(g)(1).



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      The Second Amendment protects “the right of the people to keep and bear

Arms.” U.S. Const. amend. II. The Amendment “guarantee[s] the individual right to

possess and carry weapons in case of confrontation.” Dist. of Columbia v. Heller, 554

U.S. 570, 592 (2008). The Supreme Court’s decision in Bruen set out “the standard

for applying the Second Amendment” as follows: When the Second Amendment’s

plain text covers an individual’s conduct, the Constitution presumptively protects

that conduct. The government must then justify its regulation by demonstrating that

it is consistent with the Nation’s historical tradition of firearm regulation. Only then

may a court conclude that the individual’s conduct falls outside the Second

Amendment’s “unqualified command.” N.Y. State Rifle & Pistol Ass’n v. Bruen, 142

S. Ct. 2111, 2129–30 (2022). In so holding, the Supreme Court rejected lower courts’

use of means-end scrutiny in Second Amendment cases. See id. at 2125–27 & n.4

(abrogating Nat’l Rifle Ass’n of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms &

Explosives, 700 F.3d 185 (5th Cir. 2012)). “Instead, the government must

affirmatively prove that its firearms regulation is part of the historical tradition that

delimits the outer bounds of the right to keep and bear arms.” Id. at 2127. And “when

it comes to interpreting the Constitution, not all history is created equal.” Bruen, 142

S.Ct. at 2136. Courts must “guard against giving post-enactment history more weight

than it can rightly bear.” Id.

      Applying Bruen’s standard, the Second Amendment’s plain text covers the

“possess[ion]” of a firearm that Section 922(g)(1) criminalizes. 18 U.S.C. § 922(g)(1).

The term “‘[k]eep arms’ was simply a common way of referring to possessing arms.”



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Heller, 554 U.S. at 583. Petitioner is one of “the people” under the Second

Amendment’s plain text. See Heller, 554 U.S. at 581 (noting that Second Amendment

right “belongs to all Americans”); id. at 580 (quoting decision describing “the people”

as the “class of persons who are part of a national community or who have otherwise

developed sufficient connection with this country to be considered part of that

community”).     Bruen reiterates that the Second Amendment guarantees to “all

Americans” the right to keep and bear arms. 142 S. Ct. at 2156 (quoting Heller, 554

U.S. at 581). Because the Second Amendment’s plain text covers Petitioner's conduct,

the Second Amendment “presumptively protects” that conduct. Bruen, 142 S. Ct. at

2129–30.

      The prosecution cannot meet its burden of establishing that Section 922(g)(1),

as applied to Petitioner, is “consistent with the Nation’s historical tradition of firearm

regulation.” Bruen, 142 S. Ct. at 2129–30. Indeed, the Fifth Circuit has stated that

“the federal felony firearm possession ban, 18 U.S.C. § 922(g)(1), ‘bears little

resemblance to laws in effect at the time the Second Amendment was ratified,’ as it

was not enacted until 1938, was not expanded to cover non-violent felonies until 1961,

and was not re-focused from receipt to possession until 1968.” Nat’l Rifle Ass’n of Am.,

700 F.3d at 196, abrogated by Bruen, 142 S. Ct. 2111 (quoting United States v. Booker,

644 F.3d 12, 23–24 (1st Cir. 2011)).

      Then-Judge Barrett and other jurists have concluded that “Founding-era

legislatures did not strip felons of the right to bear arms simply because of their

status as felons.” Kanter v. Barr, 919 F.3d 437, 451 (7th Cir. 2019) (Barrett, J.,



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dissenting); see, e.g., id. at 453–64 (surveying history); Heller v. Dist. of Columbia,

670 F.3d 1244, 1253 (D.C. Cir. 2011) (“[S]tates did not start to enact [felony-based

prohibitions on possession] until the early 20th century.”); Folajtar v. Att’y Gen. of

U.S., 980 F.3d 897, 914 (3d Cir. 2020) (Bibas, J., dissenting) (“[T]he issue of disarming

felons is open. Precedent does not settle its historical limits. Rather, we must analyze

the history ourselves and ask: Were all felons, dangerous and nondangerous alike,

equally excluded from the Second Amendment? No, they were not.”); United States v.

McCane, 573 F.3d 1037, 1048 (10th Cir. 2009) (Tymkovich, J., concurring) (“[M]ore

recent authorities have not found evidence of longstanding dispossession laws.”).

         Against this backdrop, the government argues that “Bruen did not call into

question the Fourth Circuit’s prior decisions upholding the constitutionality of §

922(g)(1).” 1 But as the Government’s response acknowledges, the petitioner cites a

number of authorities that challenge the constitutionality18 U.S.C. § 922(g)(1), which

necessarily calls the Fourth Circuit’s holding into question. The Fourth Circuit does

not appear to have considered the constitutionality of Section 922(g)(1) in light of

Bruen. As previously cited in Petitioner’s motion to vacate, more than one federal

district court has found the felon-in-possession statute unconstitutional, as applied

post-Bruen. See United States v. Bullock, No. 3:18-CR-165, 2023 U.S. Dist. LEXIS

112397, at *74 (S.D. Miss. June 28, 2023) (§ 922(g)(1) unconstitutional as applied to

defendant with prior conviction for aggravated assault and manslaughter); United

States v. Prince, No. 22 CR 240, 2023 WL 7220127, at *11 (N.D. Ill. Nov. 2, 2023) (§



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    Government's Response at 4.
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922(g)(1) facially unconstitutional because government failed to identify historical

analog that was both “comparably justified and comparably burdensome of the right

to keep and bear arms”). And the United States Court of Appeals for the Third

Circuit, sitting en banc, has ruled that Section 922(g)(1) is unconstitutional as applied

as well. In that case, as here, the underlying offense was classified as a misdemeanor

under state law, even though it was punishable by a maximum sentence exceeding

one year. See Range v. AG United States, 69 F.4th 96 (3d Cir. 2023) (en banc). The

Third Circuit found that because “the Government has not shown that our Republic

has a longstanding history and tradition of depriving people like [defendant] of their

firearms, § 922(g)(1) cannot constitutionally strip him of his Second Amendment

rights.” Range, 69 F.4th at 106.

      The government next claims that Petitioner’s claim is procedurally defaulted.

It argues that Petitioner’s claim is procedurally defaulted because he did not raise

this claim on direct review, and it further claims that Petitioner’s claim is

procedurally defaulted because he cannot demonstrate cause and actual prejudice.

Petitioner was sentenced on June 8, 2021. He filed his opening brief in the Fourth

Circuit on February 2, 2022.       Bruen was decided on June 23, 2022.              As the

Government argues, at the time of his sentencing and briefing on direct appeal, the

law of the Fourth Circuit was clearly that 18 U.S.C. § 922(g)(1) was constitutional.

See, United States v. Pruess, 703 F.3d 242 (4th Cir. 2012). Therefore, it would have

been futile for Petitioner to argue contrary to the district court at sentencing or in his

opening brief. This is a well-established basis to excuse procedural default. As the



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Fourth Circuit has stated, "[T]he novelty doctrine applies as cause to excuse default

of a habeas claim when "the state of the law [was] such that the legal basis for the

claim was not reasonably available when the matter should have been raised." United

States v. Mikalajunas, 186 F.3d 490, 493 (4th Cir. 1999)." Prible v. Lumpkin, 43 F.4th

501 (5th Cir. 2022) (“It is well established that "a failure to raise a claim in an earlier

habeas petition may not be excused for cause 'if the claim was reasonably available'

at the time of the first petition.").

       Last, this petition is not barred by the Fourth Circuit decision in United States

v. Pruess, 703 F.3d 242 (4th Cir. 2012). Citing United States v. Fowler, 2024 WL

197601 (E.D.Va. January 18, 2024), the government claims that Pruess bars the

instant petition.   As the Fowler opinion acknowledges, “the Fourth Circuit has not

yet opined on the constitutionality of § 922(g)(1) since the Supreme Court handed

down its decision in Bruen.” Fowler, 2024 WL 197601 at *7. The Fourth Circuit

decisions upholding 922(g)’s constitutionality, however, were necessarily premised on

the earlier Supreme Court decision in District of Columbia v. Heller, 554 U.S. 570,

635 (2008), where the Supreme Court held that “nothing in our opinion should be

taken to cast doubt on the longstanding prohibitions on possession of firearms by

felons,” id. at 626-27, which the Court described as “presumptively lawful regulatory

measures.” Heller, 554 U.S. at 626-27.

       The Fifth Circuit has described this language as “[d]icta in Heller.” United

States v. Scroggins, 599 F.3d 433, 451 (5th Cir. 2010); accord, e.g., Tyler v. Hillsdale

Cty. Sheriff’s Dep’t, 837 F.3d 678, 686–87 (6th Cir. 2016) (en banc).



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      Bruen “did not attempt to bolster [the] reasoning” underlying Heller’s dictum.

See Dobbs, 142 S. Ct. at 2271. Instead, Bruen holds that “when the Second

Amendment’s plain text covers an individual’s conduct, the Constitution

presumptively protects that conduct.” 142 S. Ct. at 2126 (emphasis added). Moreover,

the Court holds that “the government must demonstrate that the regulation is

consistent with this Nation’s historical tradition of firearm regulation.” Id. “Only if”

the government meets its burden, the Court holds, may a court uphold a regulation

as constitutional. Id. Bruen’s holding must prevail over Heller’s dictum. See Heller,

554 U.S. at 625 n.25 (“It is inconceivable that we would rest our interpretation of the

basic meaning of any guarantee of the Bill of Rights upon such a footnoted dictum in

a case where the point was not at issue and was not argued.”). Bruen now instructs

that it is the government’s burden to “affirmatively prove” that any regulation is “part

of the historical tradition that delimits the outer bounds of the right to keep and bear

arms,” which the government cannot do here. Bruen, 142 S. Ct. at 2127.

                                    CONCLUSION

      Under Bruen’s “standard for applying the Second Amendment,” the Second

Amendment’s plain text covers Petitioner’s firearm possession. The prosecution

cannot meet its burden of demonstrating that this application of Section 922(g)(1) is

“consistent with the Nation’s historical tradition of firearm regulation.” It follows that

Section 922(g)(1) is unconstitutional on its face and as applied. Petitioner asks this

court to grant his motion.




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Dated: May 3, 2024



                            Respectfully submitted,

                            /s/ Noell P. Tin

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                          CERTIFICATE OF SERVICE


       The undersigned hereby certifies that he has served the foregoing
PETITIONER’S REPLY TO GOVERNMENT’S RESPONSE TO MOTION TO
VACATE with the Clerk of Court using the CM/ECF system, which will send
notification of such filing to opposing counsel:

                              Angela Miller
                              Assistant U.S. Attorney
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     Dated: May 3, 2024

                                          /s/ Noell P. Tin




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